






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00415-CV






Damian Mandola and Trina Mandola, Appellants


v.


Stanley M. Duchman; Lisa Duchman; DuchMandola, Ltd.;

and Capital Farm Credit, FLCA, Appellees






FROM THE DISTRICT COURT OF HAYS COUNTY, 207TH JUDICIAL DISTRICT

NO. 10-0226, HONORABLE WILLIAM R. HENRY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellants have filed a motion to dismiss their appeal of a post judgment protective
order obtained by appellees Stanley M. Duchman, Lisa Duchman, and DuchMandola, Ltd. 
Appellants state that the parties have modified the protective order and all matters involved in the
appeal have been resolved.  Appellants further certify that they have conferred with appellees
Stanley&nbsp;M. Duchman, Lisa Duchman, and DuchMandola, Ltd., and that they do not oppose this
motion.  We grant the motion and dismiss the appeal.  See Tex. R. App. P. 42.1(a)(1).



						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Rose, and Goodwin

Dismissed on Appellants' Motion

Filed:   August 10, 2011


